Case 2:04-CV-02626-SHI\/|-tmp Document 69 Filed 08/19/05 Page 1 of 3 Page|D 58

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEEDSAUG,Q
WESTERN DIVISION

 

GREGORY BRAY,
Plaintiff,

vs. Civ. No. 04-2626-Ma[P

DR. GERALD STIPANUK, et al.,

Defendants.

~._r-_¢'~..z\_r~_¢~_r\..y\..,¢~\_d\._r'~..z"_r

 

ORDER GR.ANTING MOTION OF DEFEN'DANTS TO DEPOSE PLAINTIFF

 

Before the Court is Defendant's Motion to Depose Plaintiff,
or, Alternatively, Motion to Amend Scheduling Order, filed August
16, 2005 (Dkt #65). On August 19, 2005, the court held a telephone
conference with the parties. Plaintiff Bray stated that he is
physically able to sit for his deposition, but would need to take
breaks to allow him to use his oxygen machine.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the
defendant's motion to depose the plaintiff is granted and that the
defendants shall depose the plaintiff at the Northwest Correctional
Complex .Annex, on September‘ l, 2005, beginning at 10:00 a.m.
Defendants shall allow the plaintiff to take periodic breaks during

the deposition to allow him to use his oxygen machine.

ice
traer r_mtn@ docket sh set ns mp `iaa

This document en
79(&) )FHCF' nn g" O;:_

with Ruls 58 and/or

 

 

@

Case 2:04-CV-02626-SHI\/|-tmp Document 69 Filed 08/19/05 Page 2 of 3 Page|D 59

joel

TU M. PHAM
United States Magistrate Judge

i¢\on/J` l‘l¥, ?/0<>3"

Date 0

IT IS SO ORDERED.

 

F TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 2:04-CV-02626 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

Gregory Bray

Northwest Correctional Complex
128878

960 State Route 212

Tiptonville7 TN 38079

Stephen G. Smith

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/lemphis7 TN 38103

Jerry O. Potter

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/lemphis7 TN 38103

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

